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Attorneys for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                              IN AND FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION



 ALISON BROWER LOMAX,                                            COMPLAINT

              Plaintiff,                                  JURY TRIAL DEMANDED

 v.                                                       Civil No. 2:19-cv-00301-DB

 MONSANTO COMPANY,                                             Judge Dee Benson

            Defendant




                                        COMPLAINT



       Comes now, Plaintiff, Alison Brower Lomax, by and through her undersigned counsel,

files this Complaint at Law for Money Damages and Demand for Jury Trial against the Defendant,

Monsanto Company and alleges as follows:
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                                         INTRODUCTION

        1.      In 1970, Defendant Monsanto Company, Inc. (“Monsanto”) discovered the

herbicidal properties of glyphosate and began marketing it in products in 1974 under the brand name

Roundup®. Roundup® is a non-selective herbicide used to kill weeds that commonly compete

with the growing of crops. In addition to the active ingredient glyphosate, Roundup® contains the

surfactant Polyethoxylated tallow amine (POEA) and/or adjuvants and other so-called “inert”

ingredients. In 2001, glyphosate was the most-used pesticide active ingredient in American

agriculture with 85–90 million pounds used annually. That number grew to 185 million pounds in

2007. As of 2013, glyphosate was the world’s most widely used herbicide.

        2.      Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri, and incorporated in Delaware. It is the world's leading producer of glyphosate.

As of 2009, Monsanto was the world’s leading producer of seeds, accounting for 27% of the world

seed market. The majority of these seeds are of the Roundup Ready® brand. The stated advantage

of Roundup Ready® crops is that they substantially improve a farmer’s ability to control weeds,

because glyphosate can be sprayed in the fields during the growing season without harming the

crops. In 2010, an estimated 70% of corn and cotton and 90% of soybean fields in the United States

were Roundup Ready®.

        3.      Monsanto’s glyphosate products are registered in 130 countries and approved for

use on over 100 different crops. They are ubiquitous in the environment. Numerous studies confirm

that glyphosate is found in rivers, streams, and groundwater in agricultural areas where Roundup®

is used. It has been found in food, in the urine of agricultural workers, and even in the urine of urban

dwellers who are not in direct contact with glyphosate.

        4.       On March 20, 2015, the International Agency for Research on Cancer (“IARC”),


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an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,

including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world, and it traces the health implications from exposure to

glyphosate since 2001.

        5.       On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

        6.       The IARC Working Group classified glyphosate as a Group 2A herbicide, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and other

haematopoietic cancers, including lymphocytic lymphoma / chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.

        7.       The IARC evaluation is significant. It confirms what has been believed for years:

that glyphosate is toxic to humans.

        8.       Nevertheless, Monsanto, since it began selling Roundup®, has represented it as

safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues to

proclaim to the world, and particularly to United States consumers, that glyphosate-based

herbicides, including Roundup®, create no unreasonable risks to human health or to the

environment.

                                 JURISDICTION AND VENUE

        9.       Federal diversity jurisdiction in this Court is proper under 28 U.S.C. § 1332

because Plaintiff is a citizen of Utah, a different state than the Defendant’s states of citizenship

(Missouri and Delaware), and the aggregate amount in controversy exceeds $75,000, exclusive of

interest and costs.

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       10.     This Court has personal jurisdiction over the parties in the action by the fact that

the Defendant, Monsanto Company, is authorization to conduct business in Utah and has availed

itself to the laws and markets of Utah through promotion, marketing, distribution and sale of

Roundup® to Utah residents.

       11.     In addition, Monsanto maintains sufficient contacts with the State of Utah such that

this Court’s exercise of personal jurisdiction over it does not offend traditional notions of fair play

and substantial justice.

       12.     Venue is proper within this District under 28 U.S.C. § 1391(b)(2) because Plaintiff

was exposed to Roundup® in this District and has obtained medical treatment in this District for

the blood cancer caused by Plaintiff’s exposure to Roundup®.

                                          THE PARTIES

       13.     The Plaintiff Alison Brower Lomax is a citizen of Utah and resides in Spanish Fork,

Utah. She was exposed to Roundup® in or around Utah from around 2002 through 2013. She was

diagnosed with NHL in Utah in July 2012.

       14.     The Defendant Monsanto is a Delaware corporation with its headquarters and

principal place of business in St. Louis, Missouri.

       15.     At all times relevant to this complaint, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the manufacturer of Roundup®, which contains the active

ingredient glyphosate and the surfactant POEA, as well as adjuvants and other “inert” ingredients.

                                               FACTS

       16.     Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world.

       17.     Plants treated with glyphosate translocate the systemic herbicide to their roots, shoot

regions, and fruit, where it interferes with the plant’s ability to form aromatic amino acids necessary

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for protein synthesis. Treated plants generally die within two to three days. Because plants absorb

glyphosate, it cannot be completely removed by washing or peeling produce or by milling, baking,

or brewing grains.

       18.     For nearly 40 years, farms across the world have used Roundup® without knowing

of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted

glyphosate as a technological breakthrough: it could kill almost every weed without causing harm

either to people or to the environment. Of course, history has shown that not to be true. According

to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable cause of

cancer. Those most at risk are farm workers and other individuals with workplace exposure to

Roundup®, such as garden center workers, nursery workers, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup® was

harmless. In order to prove this, Monsanto has championed falsified data and has attacked

legitimate studies that revealed Roundup®’s dangers. Monsanto has led a prolonged campaign of

misinformation to convince government agencies, farmers and the general population that

Roundup® is safe.

                 The Discovery of Glyphosate and Development of Roundup®

       19.     The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-

1970s under the brand name Roundup®.10 From the outset, Monsanto marketed Roundup® as a

“safe” general-purpose herbicide for widespread commercial and consumer use. It still markets

Roundup® as safe today.

       20.     In addition to the active ingredient glyphosate, Roundup® formulations also contain

adjuvants and other chemicals, such as the surfactant POEA, which are considered “inert” and

therefore protected as “trade secrets” in manufacturing. Growing evidence suggests that these

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adjuvants and additional components of Roundup® formulations are not, in fact, inert and are toxic

in their own right.

                        Registration of Herbicides under Federal Law

       21.     The manufacture, formulation, and distribution of herbicides, such as Roundup®,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”), 7

U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

       22.     Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target

organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The determination the Agency must make in registering or re-

registering a product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse effects on the

environment.” 7 U.S.C. § 136a(c)(5)(D).

       23.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to make a risk/benefit analysis in determining whether a registration should be

granted or a pesticide allowed to continue to be sold in commerce.

       24.     The EPA and the State of California registered Roundup® for distribution, sale,

and manufacture in the United States and the State of California.

       25.     FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,

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conducts the health and safety testing of pesticide products. The EPA has protocols governing the

conduct of tests required for registration and the laboratory practices that must be followed in

conducting these tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, nor is it able, however, to perform the

product tests that are required of the manufacturer.

       26.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally-mandated process called “re-registration.” 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s recent review and evaluation.

       27.     In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment—in relation to the reregistration process—no later than

July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO’s health-related findings.

          Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup®

       28.     Based on early studies showing that glyphosate could cause cancer in laboratory

animals, the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C)

in 1985. After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA

changed its classification to evidence of non-carcinogenicity in humans (Group E) in 1 9 9 1 .    In

so classifying glyphosate, however, the EPA made clear that the designation did not mean the

chemical does not cause cancer: “It should be emphasized, however, that designation of an agent

in Group E is based on the available evidence at the time of evaluation and should not be interpreted



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as a definitive conclusion that the agent will not be a carcinogen under any circumstances.”

       29.      On two occasions, the EPA found that the laboratories hired by Monsanto to test the

toxicity of its Roundup® products for registration purposes committed fraud.

       30.      In the first instance, Monsanto, in seeking initial registration of Roundup® by the

EPA, hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology

studies relating to Roundup®. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup®.

       31.      In 1976, the United States Food and Drug Administration (“FDA”) performed an

inspection of IBT that revealed discrepancies between the raw data and the final report relating to

the toxicological impacts of glyphosate. The EPA subsequently audited IBT; it too found the

toxicology studies conducted for the Roundup® herbicide to be invalid. An EPA reviewer stated,

after finding “routine falsification of data” at IBT, that it was “hard to believe the scientific

integrity of the studies when they said they took specimens of the uterus from male rabbits.”

       32.      Three top executives of IBT were convicted of fraud in 1983.

       33.      In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year, the

owner of Craven Laboratories and three of its employees were indicted, and later convicted, of

fraudulent laboratory practices in the testing of pesticides and herbicides.

       34.      Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Monsanto was marketing Roundup® in 115 countries.

             The Importance of Roundup® to Monsanto’s Market Dominance Profits

       35.      The success of Roundup® was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s

agriculture division was out-performing its chemicals division’s operating income, and that gap

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increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off

impending competition.

       36.     In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate, farmers

can spray Roundup® onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s

dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled

proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

       37.     Through a three-pronged strategy of increasing production, decreasing prices, and

by coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable

product. In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides

by a margin of five to one, and accounting for close to half of Monsanto’s revenue. Today,

glyphosate remains one of the world’s largest herbicides by sales volume.

        Monsanto has known for decades that it falsely advertises the safety of Roundup®
       38.     In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup® products. Specifically, the

lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based

herbicides, including Roundup®, were “safer than table salt” and “practically non-toxic” to

mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of glyphosate and/or Roundup® are the following:

               a)      “Remember      that   environmentally    friendly   Roundup

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       herbicide is biodegradable. It won’t build up in the soil so you can use
       Roundup with confidence along customers’ driveways, sidewalks and
       fences ...”

              b)      “And remember that Roundup is biodegradable and won’t
       build up in the soil. That will give you the environmental confidence you
       need to use Roundup everywhere you've got a weed, brush, edging or
       trimming problem.”

               c)     “Roundup biodegrades into naturally occurring elements.”

              d)      “Remember that versatile Roundup herbicide stays where
       you put it. That means there's no washing or leaching to harm customers'
       shrubs or other desirable vegetation.”

                e)       “This non-residual herbicide will not wash or leach in the
       soil. It ... stays where you apply it.”

              f)      “You can apply Accord with ‘confidence because it will stay
       where you put it’ it bonds tightly to soil particles, preventing leaching. Then,
       soon after application, soil microorganisms biodegrade Accord into natural
       products.”

              g)      “Glyphosate is less toxic to rats than table salt following
       acute oral ingestion.”

               h)     “Glyphosate’s safety margin is much greater than required.
       It has over a 1,000-fold safety margin in food and over a 700-fold safety
       margin for workers who manufacture it or use it.”

              i)      “You can feel good about using herbicides by Monsanto.
       They carry a toxicity category rating of ‘practically non-toxic’ as it pertains
       to mammals, birds and fish.”

               j)     “Roundup can be used where kids and pets will play and
       breaks down into natural material.” This ad depicts a person with his head
       in the ground and a pet dog standing in an area which has been treated with
       Roundup.

       39.     On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

               a)     its glyphosate-containing pesticide products or any

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                      component thereof are safe, non-toxic, harmless or free from
                      risk.

               b)     its glyphosate-containing pesticide products or any
                      component thereof manufactured, formulated, distributed or
                      sold by Monsanto are biodegradable.

               c)     its glyphosate-containing pesticide products or any
                      component thereof stay where they are applied under all
                      circumstances and will not move through the environment
                      by any means.

               d)     its glyphosate-containing pesticide products or any
                      component thereof are “good” for the environment or are
                      “known for their environmental characteristics.”

               e)     glyphosate-containing pesticide products or any component
                      thereof are safer or less toxic than common consumer
                      products other than herbicides;

               f)     its glyphosate-containing products or any component thereof
                      might be classified as “practically non-toxic.”

       40.     Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief it still has not done so today.

       41.     In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”

                          Classifications and Assessments of Glyphosate

       42.     The IARC process for the classification of glyphosate followed IARC’s stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one

agent to be Probably Not Carcinogenic.


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       43.     The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

       44.     One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings are published in The Lancet

Oncology, and within a year after the meeting, the finalized Monograph is published.

       45.     In assessing an agent, the IARC Working Group reviews the following information:

       (a)     human, experimental, and mechanistic data;

       (b)     all pertinent epidemiological studies and cancer bioassays; and

       (c)     representative mechanistic data. The studies must be publicly available and have

               sufficient detail for meaningful review, and reviewers cannot be associated with the

               underlying study.

       46.     In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

       47.     On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph Volume

112. For Volume 112, a Working Group of 17 experts from 11 countries met at IARC from March

3–10, 2015 to assess the carcinogenicity of certain herbicides, including glyphosate. The March

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meeting culminated a nearly one-year review and preparation by the IARC Secretariat and the

Working Group, including a comprehensive review of the latest available scientific evidence.

According to published procedures, the Working Group considered “reports that have been

published or accepted for publication in the openly available scientific literature” as well as “data

from governmental reports that are publicly available.”

       48.       The studies considered the following exposure groups: (1) occupational exposure

of farmers and tree nursery workers in the United States, forestry workers in Canada and Finland

and municipal weed-control workers in the United Kingdom; and (2) para-occupational exposure in

farming families.

       49.       Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       50.       Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.

       51.       The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

       52.       The IARC Working Group found an increased risk between exposure to glyphosate

and NHL and several subtypes of NHL, and the increased risk persisted after adjustment for other

pesticides.

       53.       The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

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        54.     In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor: renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

        55.     The IARC working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        56.     The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

in utero.

        57.     The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

        58.     The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While

this study differed from others in that it was based on a self-administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

        59.     The EPA has a technical fact sheet, as part of its Drinking Water and Health, National

Primary Drinking Water Regulations publication, relating to glyphosate. This technical fact sheet

predates IARC’s March 20, 2015 evaluation. The fact sheet describes the release patterns for

glyphosate as follows:

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                       Release Patterns
                       Glyphosate is released to the environment in its use as a
               herbicide for controlling woody and herbaceous weeds on forestry,
               right-of-way, cropped and non-cropped sites. These sites may be
               around water and in wetlands.

                      It may also be released to the environment during its
               manufacture, formulation, transport, storage, disposal and cleanup,
               and from spills. Since glyphosate is not a listed chemical in the
               Toxics Release Inventory, data on releases during its manufacture
               and handling are not available.

                      Occupational workers and home gardeners may be exposed
               to glyphosate by inhalation and dermal contact during spraying,
               mixing, and cleanup. They may also be exposed by touching soil
               and plants to which glyphosate was applied. Occupational exposure
               may also occur during glyphosate’s manufacture, transport storage,
               and disposal.

       60.     In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

California, the state with the most comprehensive program for reporting of pesticide-caused

illness, glyphosate was the third most commonly-reported cause of pesticide illness among

agricultural workers.

                          The Toxicity of Other Ingredients in Roundup®

       61.     In addition to the toxicity of the active ingredient, glyphosate, several studies

support the hypothesis that the glyphosate-based formulation in Defendant’s Roundup® products

is more dangerous and toxic than glyphosate alone. Indeed, as early as 1991, available evidence

demonstrated that glyphosate formulations were significantly more toxic than glyphosate alone.

       62.     In 2002, a study by Julie Marc, entitled “Pesticide Roundup Provokes Cell

Division Dysfunction at the Level of CDK1/Cyclin B Activation,” revealed that Roundup®

causes delays in the cell cycles of sea urchins but that the same concentrations of glyphosate

alone were ineffective and did not alter cell cycles.

       63.     A 2004 study by Marc and others, entitled “Glyphosate-based pesticides affect

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cell cycle regulation,” demonstrated a molecular link between glyphosate-based products and cell

cycle dysregulation. The researchers noted that “cell-cycle dysregulation is a hallmark of tumor

cells and human cancer. Failure in the cell-cycle checkpoints leads genomic instability and

subsequent development of cancers from the initial affected cell.” Further, “[s]ince cell cycle

disorders such as cancer result from dysfunction of a unique cell, it was of interest to evaluate the

threshold dose of glyphosate affecting the cells.”

       64.     In 2005, a study by Francisco Peixoto, entitled “Comparative effects of the

Roundup and glyphosate on mitochondrial oxidative phosphorylation,” demonstrated that

Roundup®’s effects on rat liver mitochondria are far more toxic than equal concentrations of

glyphosate alone. The Peixoto study further suggested that the harmful effects of Roundup® on

mitochondrial bioenergetics could not be exclusively attributed to glyphosate but could be the

result of other chemicals, such as the surfactant POEA, or in the alternative, due to a potential

synergic effect between glyphosate and other ingredients in the Roundup® formulation.

       65.     In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining the

effects of Roundup® and glyphosate on human umbilical, embryonic, and placental cells. The

study tested dilution levels of Roundup® and glyphosate that were far below agricultural

recommendations, corresponding with low levels of residue in food. The researchers ultimately

concluded that supposed “inert” ingredients, and possibly POEA, alter human cell permeability

and amplify toxicity of glyphosate alone. The researchers further suggested that assessments of

glyphosate toxicity should account for the presence of adjuvants or additional chemicals used in

the formulation of the complete pesticide. The study confirmed that the adjuvants present in

Roundup® are not, in fact, inert and that Roundup® is potentially far more toxic than its active

ingredient glyphosate alone.

       66.     The results of these studies were at all times available to Defendant. Defendant

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thus knew or should have known that Roundup® is more toxic than glyphosate alone and that

safety studies of Roundup®, Roundup’s adjuvants and “inert” ingredients, and/or the surfactant

POEA were necessary to protect Plaintiff from Roundup®.

       67.     Despite its knowledge that Roundup® is considerably more dangerous than

glyphosate alone, Defendant continued to promote Roundup® as safe.

                       Recent Worldwide Bans on Roundup®/Glyphosate

       68.     Several countries around the world have instituted bans on the sale of Roundup®

and other glyphosate-containing herbicides, both before and since IARC first announced its

assessment for glyphosate in March 2015, and more countries undoubtedly will follow suit as the

dangers of the use of Roundup® become more widely known. The Netherlands issued a ban on all

glyphosate-based herbicides in April 2014, including Roundup®, which will take effect by the end

of 2015. In issuing the ban, the Dutch Parliament member who introduced the successful legislation

stated: “Agricultural pesticides in user-friendly packaging are sold in abundance to private persons.

In garden centers, Roundup® is promoted as harmless, but unsuspecting customers have no idea

what the risks of this product are. Especially children are sensitive to toxic substances and should

therefore not be exposed to it.”

       69.     The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.

       70.     France banned the private sale of Roundup® and glyphosate following the IARC

assessment for Glyphosate.

       71.     Bermuda banned both the private and commercial sale of glyphosates, including

Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”

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        72.    The Sri Lankan government banned the private and commercial use of glyphosate,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

        73.    The government of Colombia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO’s finding that glyphosate is probably carcinogenic.

                                     Proposition 65 Listing

        74.    On September 4, 2015, California’s Office of Environmental Health Hazard

Assessment (“OEHHA”) published a notice of intent to include glyphosate on the state’s list of

known carcinogens under Proposition 65. California’s Safe Drinking Water and Toxic Enforcement

Act of 1986 (informally known as “Proposition 65”), requires the state to maintain and, at least

once a year, revise and republish a list of chemicals “known to the State of California to cause

cancer or reproductive toxicity.” The OEHHA determined that glyphosate met the criteria for the

listing mechanism under the Labor Code following IARC’s assessment of the chemical.

        75.    The listing process under the Labor Code is essentially automatic. The list of known

carcinogens, at a minimum, must include substances identified by reference in Labor Code §

6382(b)(1). That section of the Labor Code identifies “[s]ubstances listed as human or animal

carcinogens by the International Agency for Research on Cancer (IARC).” IARC’s classification

of glyphosate as a Group 2A chemical (“probably carcinogenic to humans”) therefore triggered

the listing.

        76.    A business that deploys a listed chemical in its products must provide “clear and

reasonable warnings” to the public prior to exposure to the chemical. To be clear and reasonable, a

warning must “(1) clearly communicate that the chemical is known to cause cancer, and/or birth

defects or other reproductive harm; and (2) effectively reach the person before exposure.” The law

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also prohibits the discharge of listed chemicals into drinking water.

       77.     Monsanto disputed the listing decision and, in January 2016, filed a lawsuit against

OEHHA and the agency’s acting director, Lauren Zeise, in California state court, seeking

declaratory and injunctive relief to prevent OEHHA from listing glyphosate.

       78.     Monsanto alleged that OEHHA’s exclusive reliance on the IARC decision signified

that “OEHHA effectively elevated the determination of an ad hoc committee of an unelected,

foreign body, which answers to no United States official (let alone any California state official),

over the conclusions of its own scientific experts.” Monsanto further alleged that the Labor Code

listing mechanism presented various constitutional violations because it “effectively empowers an

unelected, undemocratic, unaccountable, and foreign body to make laws applicable in California.”

Among other things, Monsanto argued that Proposition 65’s requirement to provide a “clear and

reasonable warning” to consumers that the chemical is a known carcinogen would damage its

reputation and violate its First Amendment rights.

       79.     The case remains pending.

                                EFSA Report on Glyphosate
       80.     On November 12, 2015, the European Food Safety Authority (EFSA), the European

Union’s primary agency for food safety, reported on its evaluation of the Renewal Assessment

Report (RAR) on glyphosate. The Rapporteur Member State assigned to glyphosate, the German

Federal Institute for Risk Assessment (BfR), had produced the RAR as part of the renewal process

for glyphosate in the EU.

       81.     BfR sent its draft RAR to EFSA and the RAR underwent a peer review process by

EFSA, other member states, and industry groups. As part of the on-going peer review of

Germany’s reevaluation of glyphosate, EFSA had also received a second mandate from the

European Commission to consider IARC’s findings regarding the potential carcinogenicity of


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glyphosate and glyphosate-containing products.

       82.     Based on a review of the RAR, which included data from industry-submitted

unpublished studies, EFSA sent its own report (“Conclusion”) to the European Commission,

finding that “glyphosate is unlikely to pose a carcinogenic hazard to humans and the evidence does

not support classification with regard to its carcinogenic potential according to Regulation (EC)

No 1272/2008.” EFSA therefore disagreed with IARC: glyphosate was not genotoxic and did not

present a carcinogenic threat to humans.

       83.     In explaining why its results departed from IARC’s conclusion, EFSA drew a

distinction between the EU and IARC approaches to the study and classification of chemicals.

Although IARC examined “both glyphosate—an active substance—and glyphosate-based

formulations, grouping all formulations regardless of their composition,” EFSA explained that it

considered only glyphosate and that its assessment focuses on “each individual chemical, and each

marketed mixture separately.” IARC, on the other hand, “assesses generic agents, including groups

of related chemicals, as well as occupational or environmental exposure, and cultural or behavioral

practices.” EFSA accorded greater weight to studies conducted with glyphosate alone than studies

of formulated products.

       84.     EFSA went further and noted:
               [A]lthough some studies suggest that certain glyphosate-based
               formulations may be genotoxic (i.e. damaging to DNA), others that
               look solely at the active substance glyphosate do not show this
               effect. It is likely, therefore, that the genotoxic effects observed in
               some glyphosate-based formulations are related to the other
               constituents or “co-formulants”. Similarly, certain glyphosate-
               based formulations display higher toxicity than that of the active
               ingredient, presumably because of the presence of co-formulants.
               In its assessment, EFSA proposes that the toxicity of each pesticide
               formulation and in particular its genotoxic potential should be
               further considered and addressed by Member State authorities
               while they re-assess uses of glyphosate-based formulations in their
               own territories.

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       85.     Notwithstanding its conclusion, EFSA did set exposure levels for glyphosate.

Specifically, EFSA proposed an acceptable daily intake (ADI) of 0.5 mg/kg of body weight per

day; an acute reference dose (ARD) of 0.5 mg/kg of body weight; and an acceptable operator

exposure level (AOEL) of 0.1 mg/kg bw per day.

                          Leading Scientists Dispute EFSA’s Conclusion

       86.     On November 27, 2015, 96 independent academic and governmental scientists

from around the world submitted an open letter to the EU health commissioner, Vytenis

Andriukaitis. The scientists expressed their strong concerns and urged the commissioner to

disregard the “flawed” EFSA report, arguing that “the BfR decision is not credible because it is not

supported by the evidence and it was not reached in an open and transparent manner.”

       87.     Signatories to the letter included Dr. Christopher J. Portier, Ph.D., and other

renowned international experts in the field, some of whom were part of the IARC Working Group

assigned to glyphosate.

       88.     In an exhaustive and careful examination, the scientists scrutinized EFSA’s

conclusions and outlined why the IARC Working Group decision was “by far the more credible”:

               The IARC WG decision was reached relying on open and
               transparent procedures by independent scientists who completed
               thorough conflict-of-interest statements and were not affiliated or
               financially supported in any way by the chemical manufacturing
               industry. It is fully referenced and depends entirely on reports
               published in the open, peer-reviewed biomedical literature. It is part
               of a long tradition of deeply researched and highly credible
               reports on the carcinogenicity of hundreds of chemicals issued over
               the past four decades by IARC and used today by international
               agencies and regulatory bodies around the world as a basis for risk
               assessment, regulation and public health policy.

       89.     With respect to human data, the scientists pointed out that EFSA agreed with IARC

that there was “limited evidence of carcinogenicity” for non-Hodgkin lymphoma, but EFSA


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nonetheless dismissed an association between glyphosate exposure and carcinogenicity. IARC

applies three levels of evidence in its analyses of human data, including sufficient evidence and

limited evidence. EFSA’s ultimate conclusion that “there was no unequivocal evidence for a clear

and strong association of NHL with glyphosate” was misleading because it was tantamount to

IARC’s highest level of evidence: “sufficient evidence,” which means that a causal relationship

has been established. However, the scientists argued, “[l]egitimate public health concerns arise

when ‘causality is credible,’ i.e., when there is limited evidence.”

       90.     Among its many other deficiencies, EFSA’s conclusions regarding animal

carcinogenicity data were “scientifically unacceptable,” particularly in BfR’s use of historical

control data and in its trend analysis. Indeed, BfR’s analysis directly contradicted the Organisation

for Economic Co-operation and Development (“OECD”) testing guidelines while citing and

purporting to follow those same guidelines. For instance, the EFSA report dismisses observed

trends in tumor incidence “because there are no individual treatment groups that are significantly

different from controls and because the maximum observed response is reportedly within the range

of the historical control data.” However, according to the scientists, concurrent controls are

recommended over historical controls in all guidelines, scientific reports, and publications, and, if

it is employed, historical control data “should be from studies in the same timeframe, for the same

exact animal strain, preferably from the same laboratory or the same supplier and preferably

reviewed by the same pathologist.” BfR’s use of historical control data violated these precautions:

“only a single study used the same mouse strain as the historical controls, but was reported more

than 10 years after the historical control dataset was developed.” Further deviating from sound

scientific practices, the data used by the BfR came from studies in seven different laboratories.

The scientists concluded:

               BfR reported seven positive mouse studies with three studies
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               showing increases in renal tumors, two with positive findings for
               hemangiosarcomas, and two with positive findings for malignant
               lymphomas. BfR additionally reported two positive findings for
               tumors in rats. Eliminating the inappropriate use of historical data,
               the unequivocal conclusion is that these are not negative studies, but
               in fact document the carcinogenicity of glyphosate in laboratory
               animals.

       91.     The letter also critiqued the EFSA report’s lack of transparency and the opacity

surrounding the data cited in the report: “citations for almost all of the references, even those from

the open scientific literature, have been redacted from the document” and “there are no authors or

contributors listed for either document, a requirement for publication in virtually all scientific

journals.” Because BfR relied on unpublished, confidential industry-provided studies, it is

“impossible for any scientist not associated with BfR to review this conclusion with scientific

confidence.”

       92.     On March 3, 2016, the letter was published in the Journal of Epidemiology &

Community Health.

                 Statement of Concern Regarding Glyphosate-Based Herbicides
       93.     On February 17, 2016, a consensus statement published in the journal Environmental

Health, entitled “Concerns over use of glyphosate-based herbicides and risks associated with

exposures: a consensus statement,” assessed the safety of glyphosate-based herbicides (GBHs).

The paper’s “focus is on the unanticipated effects arising from the worldwide increase in use of

GBHs, coupled with recent discoveries about the toxicity and human health risks stemming from

use of GBHs.” The researchers drew seven factual conclusions about GBHs:

               1.      GBHs are the most heavily applied herbicide in the world
                       and usage continues to rise;

               2.      Worldwide, GBHs often contaminate drinking water
                       sources, precipitation, and air, especially in agricultural
                       regions;


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               3.        The half-life of glyphosate in water and soil is longer than
                         previously recognized;

               4.        Glyphosate and its metabolites are widely present in the
                         global soybean supply;

               5.        Human exposures to GBHs are rising;

               6.        Glyphosate is now authoritatively classified as a probable
                         human carcinogen; and

               7.        Regulatory estimates of tolerable daily intakes for
                         glyphosate in the United States and European Union are
                         based on outdated science.

       94.     The researchers noted that GBH use has increased approximately 100-fold since

the 1970s. Further, far from posing a limited hazard to vertebrates, as previously believed, two

decades of evidence demonstrated that “several vertebrate pathways are likely targets of action,

including hepatorenal damage, effects on nutrient balance through glyphosate chelating action and

endocrine disruption.”

       95.     The paper attributes uncertainties in current assessments of glyphosate

formulations to the fact that “[t]he full list of chemicals in most commercial GBHs is protected as

‘commercial business information,’ despite the universally accepted relevance of such information

to scientists hoping to conduct an accurate risk assessment of these herbicide formulations.”

Further, the researchers argue, “[t]he distinction in regulatory review and decision processes

between ‘active’ and ‘inert’ ingredients has no toxicological justification, given increasing

evidence that several so-called ‘inert’ adjuvants are toxic in their own right.”

       96.     Among various implications, the researchers conclude that “existing toxicological

data and risk assessments are not sufficient to infer that GBHs, as currently used, are safe.” Further,

“GBH- product formulations are more potent, or toxic, than glyphosate alone to a wide array of

non-target organisms including mammals, aquatic insects, and fish.” Accordingly, “risk


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assessments of GBHs that are based on studies quantifying the impacts of glyphosate alone

underestimate both toxicity and exposure, and thus risk.” The paper concludes that this

“shortcoming has repeatedly led regulators to set inappropriately high exposure thresholds.”

       97.     The researchers also critique the current practice of regulators who largely rely on

“unpublished, non-peer reviewed data generated by the registrants” but ignore “published research

because it often uses standards and procedures to assess quality that are different from those

codified in regulatory agency data requirements, which largely focus on avoiding fraud.” In the

researchers’ view, “[s]cientists independent of the registrants should conduct regulatory tests of

GBHs that include glyphosate alone, as well as GBH-product formulations.”

       98.     The researchers also call for greater inclusion of GBHs in government-led

toxicology testing programs:

               [A] fresh and independent examination of GBH toxicity should be
               undertaken, and . . . this re-examination be accompanied by
               systematic efforts by relevant agencies to monitor GBH levels in
               people and in the food supply, none of which are occurring today.
               The U.S. National Toxicology Program should prioritize a thorough
               toxicological assessment of the multiple pathways now identified as
               potentially vulnerable to GBHs.

       99.     The researchers suggest that, in order to fill the gap created by an absence of

government funds to support research on GBHs, regulators could adopt a system through which

manufacturers fund the registration process and the necessary testing:

               “[W]e recommend that a system be put in place through which
               manufacturers of GBHs provide funds to the appropriate regulatory
               body as part of routine registration actions and fees. Such funds
               should then be transferred to appropriate government research
               institutes, or to an agency experienced in the award of competitive
               grants. In either case, funds would be made available to independent
               scientists to conduct the appropriate long-term (minimum 2 years)
               safety studies in recognized animal model systems. A thorough and
               modern assessment of GBH toxicity will encompass potential
               endocrine disruption, impacts on the gut microbiome,
               carcinogenicity, and multigenerational effects looking at

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                reproductive capability and frequency of birth defects.”

                      FDA Announces Testing of Glyphosate Residue in Foods

        100.    On February 17, 2016, the U.S. Food and Drug Administration (“FDA”) announced

that, for the first time in its history, the agency planned to start testing certain foods for glyphosate

residues. FDA spokeswoman Lauren Sucher explained: “The agency is now considering

assignments for Fiscal Year 2016 to measure glyphosate in soybeans, corn, milk, and eggs, among

other potential foods.”

        101.    In 2014, the U.S. Government Accountability Office (GAO) had severely rebuked

the FDA for its failures to both monitor for pesticide residue, including that of glyphosate, and to

disclose the limitations of its monitoring and testing efforts to the public. The GAO had cited

numerous undisclosed deficiencies in the FDA’s process, specifically highlighting its omission of

glyphosate testing.

        102.    Indeed, in the past, both the FDA and the U.S. Department of Agriculture (USDA)

had routinely excluded glyphosate from their testing for the residues of hundreds of other

pesticides, on the rationale that it was too expensive and unnecessary to protect public health. Ms.

Sucher, the FDA spokeswoman, however, now states that “the agency has developed ‘streamlined

methods’ for testing for the weed killer.”

        103.    The FDA’s move is significant as the agency possesses enforcement authority and

can seek action if pesticide residues exceed enforcement guidelines.

                         European Union Vote on Glyphosate Renewal
        104.    The license for glyphosate in the European Union (EU) was set to expire on June

30, 2016.

        105.    Without an extension of the license, Monsanto’s Roundup® and other glyphosate-

based herbicides faced a general phase out in EU markets.


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       106.    In the months leading up to the license expiration date, protracted meetings and

votes among national experts from the 28 EU Member States failed to produce agreement on an

extension.

       107.    For instance, on March 4, 2016, The Guardian reported that France, the Netherlands,

and Sweden did not support EFSA’s assessment that glyphosate was harmless. The paper quoted

the Swedish environment minister, Åsa Romson, as stating: “We won’t take risks with glyphosate

and we don’t think that the analysis done so far is good enough. We will propose that no decision

is taken until further analysis has been done and the EFSA scientists have been more transparent

about their considerations.”

       108.    The Netherlands argued that relicensing should be placed on hold until after a

separate evaluation of glyphosate’s toxicity can be conducted. Leading up to the vote, Italy joined

the other EU states in opposing the license renewal, citing health concerns.

       109.    On June 6, 2016, Member States voted but failed to reach a qualified majority in

favor or against the re-authorization of glyphosate.

       110.    On June 29, 2016, the EU Commission extended the European license for glyphosate

for 18 months to allow the European Chemical Agency to rule on the safety of the chemical, which

is expected by the end of 2017.

       111.    On July 11, 2016, the EU voted in favor of a proposal to restrict the conditions of

use of glyphosate in the EU, including a ban on common co-formulant POE-tallowamine (POEA)

from all glyphosate-based herbicides, including Roundup.

       112.    These restrictions, which are non-binding on the EU states, are expected to apply

until the European Chemicals Agency issues an opinion on the chemical's safety.

                               Plaintiff’s Exposure to Roundup®

       113.    Plaintiff Alison Brower Lomax is 40 years old and used Roundup® regularly from


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approximately 2002 through 2013 for her yardwork.

       114.    From approximately 2002 to 2013, Ms. Lomax lived in Utah. She would regularly

use Roundup® while maintaining her yard at her home.

       115.    In July 2012, Ms. Lomax was diagnosed with diffuse large B-cell lymphoma, a type

of NHL, in Provo, Utah. Ms. Lomax underwent chemotherapy, radiation, and surgery and is

currently in remission.

       116.    During the entire time that Ms. Lomax was exposed to Roundup®, she did not know

that exposure to Roundup® was injurious to her health or the health of others.

       117.    Ms. Lomax first learned that exposure to Roundup® can cause NHL and other

serious illnesses sometime after January 2019.

                     TOLLING OF THE STATUTE OF LIMITATIONS

                                      Discovery Rule Tolling

       118.    Plaintiff had no way of knowing about the risk of serious illness associated with the

use of and/or exposure to Roundup® and glyphosate until reports surfaced in the lay press in 2018

about the potential for Roundup® to cause NHL and other serious illness. In fact the product is

still on the market and Plaintiff had not heard or seen anything about a cancer risk associated with

the product until this year. Even now, Plaintiff’s understanding is that the manufacture does not

admit that Roundup® causes or is associated with cancer. This is the quintessential case for tolling.

       119.    Within the time period of any applicable statutes of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence, that exposure to Roundup® and

glyphosate is injurious to human health.

       120.    Plaintiff did not discover, and did not know of facts that would cause a reasonable

person to suspect, the risks associated with the use of and/or exposure to Roundup® and glyphosate;

nor would a reasonable and diligent investigation by her have disclosed that Roundup® and

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glyphosate would cause her illness.

       121.     For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiff’s claims.

                                   Fraudulent Concealment Tolling

       122.     All applicable statutes of limitations have also been tolled by Monsanto’s knowing

and active fraudulent concealment and denial of the facts alleged herein throughout the time period

relevant to this action Instead of disclosing critical safety information about Roundup® and

glyphosate, Monsanto has consistently and falsely represented the safety of its Roundup®

products.

                                              Estoppel

       123.     Monsanto was under a continuous duty to disclose to consumers, users and other

persons coming into contact with its products, including Plaintiff, accurate safety information

concerning its products and the risks associated with the use of and/or exposure to Roundup® and

glyphosate.

       124.     Instead, Monsanto knowingly, affirmatively, and actively concealed safety

information concerning Roundup® and glyphosate and the serious risks associated with the use of

and/or exposure to its products.

       125.     Based on the foregoing, Monsanto is estopped from relying on any statutes of

limitations in defense of this action.

                                         CLAIMS FOR RELIEF

                                       COUNT I
                           STRICT LIABILITY (DESIGN DEFECT)

       126.     Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.


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       127.    Plaintiff brings this strict liability claim against Defendant for defective design. At

all times relevant to this litigation, Defendant engaged in the business of testing, developing,

designing, manufacturing, marketing, selling, distributing, and promoting Roundup® products,

which are defective and unreasonably dangerous to consumers, users, and other persons coming

into contact with them, including Plaintiff, thereby placing Roundup® products into the stream of

commerce. These actions were under the ultimate control and supervision of Defendant.

       128.    At all times relevant to this litigation, Defendant designed, researched, developed,

formulated, manufactured, produced, tested, assembled, labeled, advertised, promoted, marketed,

sold, and distributed the Roundup® products used by the Plaintiff, and/or to which the Plaintiff was

exposed, as described above.

       129.    At all times relevant to this litigation, Defendant’s Roundup® products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public, and, in particular, the Plaintiff.

       130.    At all times relevant to this litigation, Defendant’s Roundup® products reached the

intended consumers, handlers, and users or other persons coming into contact with these products

in Illinois and throughout the United States, including Plaintiff, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Defendant.

       131.    Defendant’s Roundup® products, as researched, tested, developed, designed,

licensed, formulated, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendant, were defective in design and formulation in that when they left the hands of the

Defendant’s manufacturers and/or suppliers, they were unreasonably dangerous because they were

not as safe as an ordinary consumer would expect when used in an intended or reasonably

foreseeable manner.

       132.    Defendant’s Roundup® products, as researched, tested, developed, designed,

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licensed, formulated, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendant, were defective in design and formulation in that when they left the hands of

Defendant’s manufacturers and/or suppliers, the foreseeable risks associated with these products’

reasonably foreseeable uses exceeded the alleged benefits associated with their design and

formulation.

       133.    Therefore, at all times relevant to this litigation, Defendant’s Roundup® products,

as researched, tested, developed, designed, licensed, manufactured, packaged, labeled, distributed,

sold and marketed by Defendant, were defective in design and formulation, in one or more of the

following ways:

               a.     When placed in the stream of commerce, Defendant’s Roundup® products

                      were defective in design and formulation, and, consequently, dangerous to

                      an extent beyond that which an ordinary consumer would expect.

               b.     When placed in the stream of commerce, Defendant’s Roundup® products

                      were unreasonably dangerous in that they were hazardous and posed a grave

                      risk of cancer and other serious illnesses when used in a reasonably

                      anticipated manner.

               c.     When placed in the stream of commerce, Defendant’s Roundup® products

                      contained unreasonably dangerous design defects and were not reasonably

                      safe when used in a reasonably anticipated or intended manner.

               d.     Defendant did not sufficiently test, investigate, or study its Roundup®

                      products and, specifically, the active ingredient glyphosate.

               e.     Exposure to Roundup® and glyphosate-containing products presents a risk

                      of harmful side effects that outweighs any potential utility stemming from



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                      the use of the herbicide.

               f.     Defendant knew or should have known at the time of marketing its

                      Roundup® products that exposure to Roundup® and specifically, its active

                      ingredient glyphosate, could result in cancer and other severe illnesses and

                      injuries.

               g.     Defendant did not conduct adequate post-marketing surveillance of its

                      Roundup® products.

               h.     Defendant could have employed safer alternative designs and formulations.

       134.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use

of Defendant’s Roundup® products in an intended or reasonably foreseeable manner without

knowledge of their dangerous characteristics.

       135.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of exposure.

       136.    The harm caused by Defendant’s Roundup® products far outweighed their benefit,

rendering Defendant’s products dangerous to an extent beyond that which an ordinary consumer

would contemplate. Defendant’s Roundup® products were and are more dangerous than alternative

products and Defendant could have designed its Roundup® products to make them less dangerous.

Indeed, at the time that Defendant designed its Roundup® products, the state of the industry’s

scientific knowledge was such that a less risky design or formulation was attainable.

       137.    At the time Roundup® products left Defendant’s control, there was a practical,

technically feasible, and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of Defendant’s Roundup®

herbicides.

       138.    Defendant’s defective design of Roundup® amounts to willful, wanton, and/or

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reckless conduct by Defendant.

        139.     Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Defendant is strictly liable to Plaintiff.

        140.     The defects in Defendant’s Roundup® products were substantial and contributing

factors in causing Plaintiff’s grave injuries, and, but for Defendant’s misconduct and omissions,

Plaintiff would not have sustained his injuries.

        141.     As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Plaintiff has suffered and continues to suffer grave injuries,

and he has endured pain and discomfort, as well as economic hardship, including considerable

financial expenses for medical care and treatment. Plaintiff will continue to incur these expenses

in the future.

        142.     WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees, and all such other and further relief as this Court deems just and proper.

Plaintiff also demands a jury trial on the issues contained herein.

                                            COUNT II
                           STRICT LIABILITY (FAILURE TO WARN)
        143.     Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

        144.     Plaintiff brings this strict liability claim against Defendant for failure to warn.

        145.     At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, including Plaintiff,

because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and specifically, the active ingredient glyphosate. These actions were

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under the ultimate control and supervision of Defendant.

       146.    Defendant researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

its Roundup® products, and in the course of same, directly advertised or marketed the products to

consumers and end users, including Plaintiff, Plaintiff’s employers, Plaintiff’s co- workers, and

persons responsible for consumers (such as employers), and Defendant therefore had a duty to warn

of the risks associated with the reasonably foreseeable uses (and misuses) of Roundup® and

glyphosate-containing products and a duty to instruct on the proper, safe use of these products.

       147.    At all times relevant to this litigation, Defendant had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,

provide proper warnings, and take such steps as necessary to ensure that its Roundup® products did

not cause users and consumers to suffer from unreasonable and dangerous risks. Defendant had a

continuing duty to warn Plaintiff of the dangers associated with Roundup® use and exposure, and

a continuing duty to instruct on the proper, safe use of these products. Defendant, as manufacturer,

seller, or distributor of chemical herbicides, is held to the knowledge of an expert in the field.

       148.    At the time of manufacture, Defendant could have provided warnings or instructions

regarding the full and complete risks of Roundup® and glyphosate-containing products because it

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to these products.

       149.    At all times relevant to this litigation, Defendant failed to investigate, study, test,

or promote the safety of its Roundup® products. Defendant also failed to minimize the dangers to

users and consumers of its Roundup® products and to those who would foreseeably use or be

harmed by Defendant’s herbicides, including Plaintiff.

       150.    Despite the fact that Defendant knew or should have known that Roundup®

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products posed a grave risk of harm, it failed to warn of the dangerous risks associated with their

use and exposure. The dangerous propensities of its products and the carcinogenic characteristics

of glyphosate, as described above, were known to Defendant, or scientifically knowable to

Defendant through appropriate research and testing by known methods, at the time it distributed,

supplied, or sold the product, and not known to end users and consumers, such as Plaintiff.

       151.    Defendant knew or should have known that its Roundup® and glyphosate-containing

products created significant risks of serious bodily harm to consumers, as alleged herein, and

Defendant failed to adequately warn consumers and reasonably foreseeable users of the risks of

exposure to these products. Defendant has wrongfully concealed information concerning the

dangerous nature of Roundup® and its active ingredient glyphosate, and further made false and/or

misleading statements concerning the safety of Roundup® and glyphosate.

       152.    At all times relevant to this litigation, Defendant’s Roundup® products reached the

intended consumers, handlers, and users or other persons coming into contact with these products

throughout the United States, including Plaintiff, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendant.

       153.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use

of Defendant’s Roundup® products in their intended or reasonably foreseeable manner without

knowledge of their dangerous characteristics.

       154.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of Plaintiff’s exposure. Plaintiff

relied upon the skill, superior knowledge, and judgment of Defendant.

       155.    Defendant knew or should have known that the minimal warnings disseminated with

its Roundup® products were inadequate, but it failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions that were

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appropriate and adequate to render the products safe for their ordinary, intended, and reasonably

foreseeable uses, including agricultural and horticultural applications.

       156.    The information that Defendant did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled agricultural workers,

horticultural workers and/or at-home users such as Plaintiff to utilize the products safely and with

adequate protection. Instead, Defendant disseminated information that was inaccurate, false, and

misleading and which failed to communicate accurately or adequately the comparative severity,

duration, and extent of the risk of injuries associated with use of and/or exposure to Roundup® and

glyphosate; continued to aggressively promote the efficacy of its products, even after it knew or

should have known of the unreasonable risks from use or exposure; and concealed, downplayed,

or otherwise suppressed, through aggressive marketing and promotion, any information or research

about the risks and dangers of exposure to Roundup® and glyphosate.

       157.    To this day, Defendant has failed to adequately and accurately warn of the true risks

of Plaintiff’s injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate, a probable carcinogen.

       158.    As a result of their inadequate warnings, Defendant’s Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Plaintiff.

       159.    Defendant is liable to Plaintiff for injuries caused by its failure, as described above,

to provide adequate warnings or other clinically relevant information and data regarding the

appropriate use of its Roundup® products and the risks associated with the use of or exposure to

Roundup® and glyphosate.

       160.    The defects in Defendant’s Roundup® products were substantial and contributing

factors in causing Plaintiff’s injuries, and, but for Defendant’s misconduct and omissions, Plaintiff

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would not have sustained his injuries.

       161.    Had Defendant provided adequate warnings and instructions and properly disclosed

and disseminated the risks associated with its Roundup® products, Plaintiff could have avoided

the risk of developing injuries as alleged herein and Plaintiff could have obtained alternative

herbicides.

       162.    As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Plaintiff has suffered and continues to suffer severe injuries,

and had endured physical pain and discomfort, as well as economic hardship, including

considerable financial expenses for medical care and treatment. Plaintiff will continue to incur

these expenses in the future.

       163.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees, and all such other and further relief as this Court deems just and proper.

Plaintiff also demands a jury trial on the issues contained herein.

                                          COUNT III
                                        NEGLIGENCE
       164.    Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       165.    Defendant, directly or indirectly, caused Roundup® products to be sold,

distributed, packaged, labeled, marketed, and/or promoted.

       166.    Defendant, directly or indirectly, caused Roundup® products to be purchased and/or

used by Plaintiff.

       167.    At all times relevant to this litigation, Defendant had a duty to exercise reasonable

care in the design, research, manufacture, marketing, advertisement, supply, promotion,

packaging, sale, and distribution of its Roundup® products, including the duty to take all

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reasonable steps necessary to manufacture, promote, and/or sell a product that was not

unreasonably dangerous to consumers, users, and other persons coming into contact with the

product.

       168.    At all times relevant to this litigation, Defendant had a duty to exercise reasonable

care in the marketing, advertisement, and sale of its Roundup® products. Defendant’s duty of care

owed to consumers and the general public included providing accurate, true, and correct information

concerning the risks of using Roundup® and appropriate, complete, and accurate warnings

concerning the potential adverse effects of exposure to Roundup® and, in particular, its active

ingredient glyphosate.

       169.    At all times relevant to this litigation, Defendant knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup® and specifically, the

carcinogenic properties of the chemical glyphosate.

       170.    Accordingly, at all times relevant to this litigation, Defendant knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup® products

could cause Plaintiff’s injuries and thus created a dangerous and unreasonable risk of injury to the

users of these products, including Plaintiff.

       171.    Defendant knew or, in the exercise of reasonable care, should have known that

Roundup® is more toxic than glyphosate alone and that safety studies on Roundup®, Roundup®’s

adjuvants and “inert” ingredients, and/or the surfactant POEA were necessary to protect Plaintiff

from Roundup®.

       172.    Defendant knew or, in the exercise of reasonable care, should have known that tests

limited to Roundup’s active ingredient glyphosate were insufficient to prove the safety of

Roundup®.

       173.    Defendant also knew or, in the exercise of reasonable care, should have known that

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users and consumers of Roundup® were unaware of the risks and the magnitude of the risks

associated with the use of and/or exposure to Roundup® and glyphosate-containing products.

       174.    As such, Defendant breached its duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup® products, in that

Defendant manufactured and produced defective herbicides containing the chemical glyphosate,

knew or had reason to know of the defects inherent in its products, knew or had reason to know that

a user’s or consumer’s exposure to the products created a significant risk of harm and unreasonably

dangerous side effects, and failed to prevent or adequately warn of these risks and injuries.

       175.    Defendant failed to appropriately and adequately test Roundup®, Roundup®’s

adjuvants and “inert” ingredients, and/or the surfactant POEA to protect Plaintiff from Roundup®.

Despite its ability and means to investigate, study, and test its products and to provide adequate

warnings, Defendant has failed to do so. Indeed, Defendant has wrongfully concealed information

and has further made false and/or misleading statements concerning the safety and/or exposure to

Roundup® and glyphosate.

       176.    Defendant’s negligence included:

               a.      Manufacturing, producing, promoting, formulating, creating, developing,

                       designing, selling, and/or distributing its Roundup® products without

                       thorough and adequate pre- and post-market testing;

               b.      Manufacturing, producing, promoting, formulating, creating, developing,

                       designing, selling, and/or distributing Roundup® while negligently and/or

                       intentionally concealing and failing to disclose the results of trials, tests, and

                       studies of exposure to glyphosate, and, consequently, the risk of serious



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         harm associated with human use of and exposure to Roundup®;

    c.   Failing to undertake sufficient studies and conduct necessary tests to

         determine whether or not Roundup® products and glyphosate-containing

         products were safe for their intended use in agriculture, horticulture, and at-

         home use;

    d.   Failing to undertake sufficient studies and conduct necessary tests to

         determine the safety of “inert” ingredients and/or adjuvants contained

         within Roundup®, and the propensity of these ingredients to render

         Roundup® toxic, increase the toxicity of Roundup®, whether these

         ingredients are carcinogenic, magnify the carcinogenic properties of

         Roundup®, and whether or not “inert” ingredients and/or adjuvants were

         safe for use;

    e.   Failing to use reasonable and prudent care in the design, research,

         manufacture, formulation, and development of Roundup® products so as to

         avoid the risk of serious harm associated with the prevalent use of

         Roundup®/glyphosate as an herbicide;

    f.   Failing to design and manufacture Roundup® products so as to ensure they

         were at least as safe and effective as other herbicides on the market;

    g.   Failing to provide adequate instructions, guidelines, and safety precautions

         to those persons who Defendant could reasonably foresee would use and/or

         be exposed to its Roundup® products;

    h.   Failing to disclose to Plaintiff, users, consumers, and the general public that

         the use of and exposure to Roundup® presented severe risks of cancer and


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         other grave illnesses;

    i.   Failing to warn Plaintiff, users, consumers, and the general public that the

         product’s risk of harm was unreasonable and that there were safer and

         effective alternative herbicides available to Plaintiff and other users or

         consumers;

    j.   Systematically suppressing or downplaying contrary evidence about the

         risks, incidence, and prevalence of the side effects of Roundup® and

         glyphosate- containing products;

    k.   Representing that its Roundup® products were safe for their intended use

         when, in fact, Defendant knew or should have known that the products were

         not safe for their intended use;

    l.   Declining to make or propose any changes to Roundup® products’ labeling

         or other promotional materials that would alert the consumers and the

         general public of the risks of Roundup® and glyphosate;

    m.   Advertising, marketing, and recommending the use of Roundup® products,

         while concealing and failing to disclose or warn of the dangers known by

         Defendant to be associated with or caused by the use of or exposure to

         Roundup® and glyphosate;

    n.   Continuing to disseminate information to its consumers, which indicate or

         imply that Defendant’s Roundup® products are not unsafe for use in the

         agricultural, horticultural industries, and/or home use; and

    o.   Continuing the manufacture and sale of its products with the knowledge that

         the products were unreasonably unsafe and dangerous.


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       177.    Defendant knew and/or should have known that it was foreseeable that consumers

and/or users, such as Plaintiff, would suffer injuries as a result of Defendant’s failure to exercise

ordinary care in the manufacturing, marketing, labeling, distribution, and sale of Roundup®.

       178.    Plaintiff did not know the nature and extent of the injuries that could result from

the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       179.    Defendant’s negligence was the proximate cause of the injuries, harm, and

economic losses that Plaintiff suffered, and will continue to suffer, as described herein.

       180.    Defendant’s conduct, as described above, was reckless. Defendant regularly risks

the lives of consumers and users of its products, including Plaintiff, with full knowledge of the

dangers of its products. Defendant has made conscious decisions not to redesign, re-label, warn,

or inform the unsuspecting public, including Plaintiff. Defendant’s reckless conduct therefore

warrants an award of punitive damages.

       181.    As a proximate result of Defendant’s wrongful acts and omissions in placing its

defective Roundup® products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, Plaintiff has suffered and continues to suffer

severe and permanent physical and emotional injuries. Plaintiff has endured pain and suffering, has

suffered economic losses (including significant expenses for medical care and treatment) and will

continue to incur these expenses in the future.

       182.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees, and all such other and further relief as this Court deems just and proper.

Plaintiff also demands a jury trial on the issues contained herein.

                                     COUNT IV
                            BREACH OF EXPRESS WARRANTY


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       183.    Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       184.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting its

Roundup® products, which are defective and unreasonably dangerous to consumers, including

Plaintiff, thereby placing Roundup® products into the stream of commerce. These actions were

under the ultimate control and supervision of Defendant.

       185.    At all times relevant to this litigation, Defendant expressly represented and

warranted to the purchasers of its Roundup® products, by and through statements made by

Defendant in labels, publications, package inserts, and other written materials intended for

consumers and the general public, that its Roundup® products were safe to human health and the

environment, effective, fit, and proper for their intended use. Defendant advertised, labeled,

marketed, and promoted Roundup® products, representing the quality to consumers and the public

in such a way as to induce their purchase or use, thereby making an express warranty that its

Roundup® products would conform to the representations.

       186.    These express representations include incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

Roundup® and glyphosate. Defendant knew and/or should have known that the risks expressly

included in Roundup® warnings and labels did not and do not accurately or adequately set forth

the risks of developing the serious injuries complained of herein. Nevertheless, Defendant

expressly represented that its Roundup® products were safe and effective, that they were safe and

effective for use by individuals such as Plaintiff, and/or that they were safe and effective as

agricultural herbicides.



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       187.    The representations about Roundup®, as set forth herein, contained or constituted

affirmations of fact or promises made by the seller to the buyer, which related to the goods and

became part of the basis of the bargain, creating an express warranty that the goods would conform

to the representations.

       188.    Defendant placed its Roundup® products into the stream of commerce for sale and

recommended their use to consumers and the public without adequately warning of the true risks

of developing the injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate.

       189.    Defendant breached these warranties because, among other things, its Roundup®

products were defective, dangerous, unfit for use, did not contain labels representing the true and

adequate nature of the risks associated with their use, and were not merchantable or safe for their

intended, ordinary, and foreseeable use and purpose. Specifically, Defendant breached the

warranties in the following ways:

               a.         Defendant represented through its labeling, advertising, and marketing

                          materials that its Roundup® products were safe, and fraudulently withheld

                          and concealed information about the risks of serious injury associated with

                          use of and/or exposure to Roundup® and glyphosate by expressly limiting

                          the risks associated with use and/or exposure within its warnings and labels;

                          and

               b.         Defendant represented that its Roundup® products were safe for use and

                          fraudulently concealed information that demonstrated that glyphosate, the

                          active ingredient in Roundup®, had carcinogenic properties, and that its

                          Roundup® products, therefore, were not safer than alternatives available on

                          the market.
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        190.    Monsanto’s warranties and representations, as described herein, concerning the

qualities of Roundup® products, became a basis of the bargain for Plaintiff’s purchases of

Roundup® products.

        191.    On information and belief, Plaintiff’s justifiably and detrimentally relied on the

express warranties and representations of Defendant in the purchase and use of its Roundup®

products. When Plaintiff’s employers made the decision to purchase Roundup®, they reasonably

relied upon Defendant to disclose known defects, risks, dangers, and side effects of Roundup® and

glyphosate.

        192.    Plaintiff was exposed to the labels on the Roundup® products that he mixed and

applied as part of his job.

        193.    Defendant had sole access to material facts concerning the nature of the risks

associated with its Roundup® products as expressly stated within its warnings and labels, and

Defendant knew that consumers and users such as Plaintiff could not have reasonably discovered

that the risks expressly included in Roundup® warnings and labels were inadequate and inaccurate.

        194.    Plaintiff had no knowledge of the falsity or incompleteness of Defendant’s

statements and representations concerning Roundup®.

        195.    Plaintiff used and/or was exposed to the use of Roundup® as researched, developed,

designed, tested, formulated, manufactured, inspected, labeled, distributed, packaged, marketed,

promoted, sold, or otherwise released into the stream of commerce by Defendant.

        196.    Had the warnings and labels for Roundup® products accurately and adequately set

forth the true risks associated with the use of such products, including Plaintiff’s injuries, rather

than expressly excluding such information and warranting that the products were safe for their

intended use, Plaintiff could have avoided the injuries complained of herein.

        197.    As a direct and proximate result of Defendant’s wrongful acts and omissions,

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Plaintiff has suffered severe injuries. Plaintiff has endured pain and suffering, has suffered

economic losses (including significant expenses for medical care and treatment), and will continue

to incur these expenses in the future.

       198.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees, and all such other and further relief as this Court deems just and proper.

Plaintiff also demands a jury trial on the issues contained herein.

                                 COUNT V
              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       199.    Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       200.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, formulating, manufacturing, marketing, selling, distributing, and promoting

its Roundup® products, which are defective and unreasonably dangerous to users and consumers,

including Plaintiff, thereby placing Roundup® products into the stream of commerce. These actions

were under the ultimate control and supervision of Defendant.

       201.    Before the time that Plaintiff was exposed to the use of the aforementioned

Roundup® products, Defendant impliedly warranted to its consumers and users—including

Plaintiff and Plaintiff’s employers—that its Roundup® products were of merchantable quality and

safe and fit for the use for which they were intended; specifically, as horticultural herbicides.

       202.    Defendant, however, failed to disclose that Roundup® has dangerous propensities

when used as intended and that the use of and/or exposure to Roundup® and glyphosate- containing

products carries an increased risk of developing severe injuries, including Plaintiff’s injuries.

       203.    Upon information and belief, Plaintiff and Plaintiff’s employers reasonably relied


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upon the skill, superior knowledge and judgment of Defendant and upon its implied warranties

that the Roundup® products were of merchantable quality and fit for their intended purpose or use.

       204.    Upon information and belief, Plaintiff and Plaintiff’s employers reasonably relied

upon the skill, superior knowledge and judgment of Defendant and upon its implied warranties

that the Roundup® products were of merchantable quality and fit for their intended purpose or use.

       205.    The Roundup® products were expected to reach and did in fact reach consumers and

users, including Plaintiff, without substantial change in the condition in which they were

manufactured and sold by Defendant.

       206.    At all times relevant to this litigation, Defendant was aware that consumers and

users of its products, including Plaintiff, would use Roundup® products as marketed by Defendant,

which is to say that Plaintiff was the foreseeable user of Roundup®.

       207.    Defendant intended that its Roundup® products be used in the manner in which

Plaintiff in fact used them and Defendant impliedly warranted each product to be of merchantable

quality, safe, and fit for this use, despite the fact that Roundup® was not adequately tested or

researched.

       208.    In reliance upon Defendant’s implied warranty, Plaintiff used Roundup® as

instructed and labeled and in the foreseeable manner intended, recommended, promoted and

marketed by Defendant.

       209.    Neither Plaintiff nor Plaintiff’s employers could have reasonably discovered or

known of the risks of serious injury associated with Roundup® or glyphosate.

       210.    Defendant breached its implied warranty to Plaintiff in that its Roundup® products

were not of merchantable quality, safe, or fit for their intended use, or adequately tested. Roundup®

has dangerous propensities when used as intended and can cause serious injuries, including those

injuries complained of herein.

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       211.     The harm caused by Defendant’s Roundup® products far outweighed their benefit,

rendering the products more dangerous than an ordinary consumer or user would expect and more

dangerous than alternative products.

       212.     As a direct and proximate result of Defendant’s wrongful acts and omissions

Plaintiff has suffered severe and permanent physical and emotional injuries. Plaintiff has endured

pain and suffering, has suffered economic loss (including significant expenses for medical care and

treatment) and will continue to incur these expenses in the future.

       213.     WHEREFORE, Plaintiff respectfully request that this Court enter judgment in

Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees, and all such other and further relief as this Court deems just and proper.

Plaintiff also demand a jury trial on the issues contained herein.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in their favor and against

Monsanto, awarding as follows:

       A.       compensatory damages in an amount to be proven at trial;

       B.       punitive damages;

       C.       costs including reasonable attorneys’ fees, court costs, and other litigation

                expenses; and

       D.       any other relief the Court may deem just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff demands a trial by jury on all of the triable issues within this Complaint.




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Dated: May 3, 2019                 Respectfully submitted,

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